                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                              DOCKET NO. 3:11-cr-00337-RJC

 USA                                              )
                                                  )
                                                  )                ORDER
          vs.                                     )
                                                  )
 SANDRA ANITA LANDERS                             )

         THIS MATTER is before the Court upon a motion of the defendant for early

termination of her supervised release. (Doc. No. 579).

         Title 18, United States Code, Section 3583(e)(1) allows a court to terminate a term of

supervised release after one year where warranted by the conduct of the defendant and the

interest of justice. The defendant states she has been on supervision for two years after being

convicted of drug trafficking and money laundering conspiracies. According to her United

States Probation Officer, the defendant has complied with conditions of her release. However,

the defendant’s criminal history shows numerous convictions for offenses committed in different

North Carolina counties when she was under conditions of release. (Doc. No. 227: Presentence

Report at 8-10). Therefore, the Court does not find good cause to terminate supervised release

early.

         IT IS, THEREFORE, ORDERED that the motion, (Doc. No. 579), is DENIED.

         The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.

 Signed: November 15, 2016




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